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                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF NEW YORK


                       CASE NO. 15-CV-07433-RWS


     ------------------------------------------x
     VIRGINIA L. GIUFFRE,


                                    Plaintiff,
     v.
     GHISLAINE MAXWELL,
                                    Defendant.


     -------------------------------------------x


                                    June 1, 2016
                                    9:12 a.m.


                       C O N F I D E N T I A L
            Deposition of JOHN ALESSI, pursuant
            to notice, taken by Plaintiff, at the
            offices of Boies Schiller & Flexner, 401
            Las Olas Boulevard, Fort Lauderdale, Florida,
            before Kelli Ann Willis, a Registered
            Professional Reporter, Certified Realtime
            Reporter and Notary Public within and
            for the State of Florida.
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 1                               JOHN ALESSI
 2          A.    She was a -- she was very avid with
 3   photographs.      She had this high-tech camera.           She
 4   was constantly taking photographs.            Not only
 5   photographs, but I think it was -- she had this
 6   special camera.       I don't know what was it.         She took
 7   photographs, yes.
 8          Q.    In fact, you described her as a fanatic
 9   about photographs?
10          A.    Exactly.     Yes.
11          Q.    You would agree --
12          A.    Because of the equipment that she had.
13   She had this fantastic equipment.
14          Q.    And did she take photographs and pictures
15   by the pool in Jeffrey Epstein's house?
16          A.    I think she did some, yes.
17          Q.    Did she take pictures of topless girls at
18   the pool?
19          A.    I saw pictures of topless girls, yes, I
20   did.    Saw it.
21          Q.    And were the majority of the pictures that
22   she took of topless or nude girls?
23                MR. PAGLIUSCA:      Object to form and
24          foundation.
25                THE WITNESS:      I never saw any nude photos.
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                                                                    Page 37
 1                               JOHN ALESSI
 2          I saw topless pictures of girls.           I don't think
 3          I can remember seeing nude photos.
 4   BY MR. EDWARDS:
 5          Q.    Okay.    I want you to go to your
 6   deposition, and --
 7                MR. PAGLIUSCA:        Which exhibit number?
 8   BY MR. EDWARDS:
 9          Q.    Right.     It's going to be Exhibit No. 2,
10   page 40, line 15.
11          A.    Okay.
12          Q.    Through page 41, line 7.
13                MR. PAGLIUSCA:      And, again, I'm going to
14          object to the form of this process.
15                THE WITNESS:      Okay.
16   BY MR. EDWARDS:
17          Q.    Okay.    Did you read that testimony?
18          A.    Yes.
19          Q.    Okay.    So do you remember back in 2009
20   testifying:
21                "QUESTION:     Did you ever observe her doing
22   a photo shoot of any of the young women whose names
23   you mentioned?
24                "ANSWER:     Young women?
25                "QUESTION:     Yes.
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                                                                    Page 38
 1                               JOHN ALESSI
 2                "ANSWER:     No, I can't remember.        I know
 3   that she went out and took pictures in the pool,
 4   because later I would see them at the desk or at the
 5   house; and nude, 99.9 percent of the time they were
 6   topless.     They were European girls."
 7           A.   Yes.
 8           Q.   Is that truthful testimony?
 9           A.   It is truthful.
10          Q.    Okay.    So it's true that 99.9 percent of
11   the photographs that Ms. Maxwell would take were, in
12   your words, nude, they were topless?
13          A.    Topless, not nude.       Topless.
14          Q.    Do you see where I got the word "nude"
15   from, though, right?        That's a word you used?
16          A.    Let me tell you something.
17          Q.    Sure.
18          A.    When these girls came to the house, most
19   of the European -- there were some Americans; they
20   also took their top off -- they would go in the sun,
21   they would go in the pool without the tops.               I don't
22   remember seeing nude girls.          Nude, with me, means
23   nothing on.      They would have the bottoms on and no
24   tops.    Some of them.      Some will go with a full
25   swimming costume.
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 1                               JOHN ALESSI
 2          Q.    And did Ms. Maxwell keep these photographs
 3   in an album?
 4          A.    Yes, there was an album, because I knew,
 5   when I clean out the desk, I have to put everything
 6   in the house back together.          Sometimes I saw these
 7   albums, and there were pictures of girls at the
 8   pool.
 9          Q.    And there were also nude photographs -- or
10   sorry -- topless photographs -- strike that.
11                Were there photographs of girls topless
12   that were displayed in the Palm Beach house?
13                MR. PAGLIUSCA:      Object to form and
14          foundation.
15                THE WITNESS:      Not when I was there.           Not
16          when I was there.
17   BY MR. EDWARDS:
18          Q.    When is the last time that you spoke with
19   Ghislaine Maxwell?
20          A.    I did not spoke to her after we left.
21          Q.    When was the last time you spoke to
22   Jeffrey Epstein?
23          A.    Jeffrey Epstein, I talked to him while I
24   was -- basically, I was attacked by the media at my
25   house.
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                                                                    Page 40
 1                               JOHN ALESSI
 2          Q.    When was that?
 3          A.    When was that?      2014, after all of this --
 4   after the -- the -- Jeffrey got in trouble with the
 5   law.    After that, the media came to my house trying
 6   to get me to talk, trying to get me to basically put
 7   him in trouble.       And I didn't know anything about
 8   it.    And I wanted them to be out of my house, out of
 9   my life.
10                And I want this thing to get over in my
11   life, too, because I am getting sick and tired of
12   this constant coming back to me, and it's -- I need
13   to be left alone.
14          Q.    Okay.    I understand.
15                Have you had any communication with anyone
16   who represents the interests of Ghislaine Maxwell in
17   the last --
18          A.    Absolutely not.
19          Q.    Okay.
20          A.    I didn't know there was a case against
21   Ms. Maxwell.
22          Q.    Where did Ms. Maxwell keep the album of
23   topless females?
24                MR. PAGLIUSCA:      Object to form and
25          characterization.
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                                                                    Page 41
 1                               JOHN ALESSI
 2                THE WITNESS:      I think it was on her desk.
 3   BY MR. EDWARDS:
 4          Q.    Where was Ms. Maxwell's desk within the
 5   house?
 6          A.    It was in the first floor.          It was in the
 7   opposite end of Mr. Epstein, with a partition wall
 8   in the middle.       So it was not viewable for him, her
 9   desk, and she could not see him and his desk.
10          Q.    Okay.    And did Ms. Maxwell have her own
11   computer at her desk?
12          A.    She had a computer.        She had a laptop at
13   her desk.
14          Q.    Was one of your job duties to transport
15   any of the girls that would come over to give
16   massages?
17          A.    Occasionally.
18          Q.    All right.
19                And would there be occasion where
20   Ms. Maxwell would ask you to go pick up a certain
21   girl and bring her over to the house?
22          A.    It was basically him.        He would ask me.
23          Q.    Mr. Epstein?
24          A.    Uh-huh.
25          Q.    I guess my real question is:          Would you
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                                                                    Page 236
 1                         JOHN ALESSI
 2                    CERTIFICATE OF OATH
 3   STATE OF FLORIDA       )
 4   COUNTY OF MIAMI-DADE   )
 5
                  I, the undersigned authority, certify
 6       that JOHN ALESSI personally appeared before    me
         and was duly sworn.
 7                WITNESS my hand and official seal
         this 1st day of June, 2016.
 8
 9
                     Kelli Ann Willis, RPR, CRR
10                   Notary Public, State of Florida
                     Commission FF928291, Expires 2-16-20
11            + + + + + + + + + + + + + + + + + +
12                        CERTIFICATE
13   STATE OF    FLORIDA )
14   COUNTY OF MIAMI-DADE )
15               I, Kelli Ann Willis, Registered
        Professional Reporter and Certified Realtime
16      Reporter do hereby certify that     I was
        authorized to and did stenographically report the
17      foregoing deposition of JOHN ALESSI; that a review
        of the transcript was not requested; and that the
18      transcript is a true record of my stenographic
        notes.
19               I FURTHER CERTIFY that I am not a
        relative, employee, attorney, or counsel of    any
20      of the parties, nor am I a relative or employee of
        any of the parties' attorney or counsel connected
21      with the action, nor am I financially interested
        in the action.
22               Dated this 1st day of June, 2016.
23
24                             KELLI ANN WILLIS, RPR, CRR
25
